FRED S. PRICE, ADMINISTRATOR, ESTATE OF THOMAS LAWRENCE PRICE, PETITIONER, v.. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Price v. CommissionerDocket No. 21695.United States Board of Tax Appeals10 B.T.A. 1166; 1928 BTA LEXIS 3947; March 5, 1928, Promulgated *3947  Deficiency held barred from assessment.  Theodore B. Benson, Esq., for the petitioner.  A. S. Lisenby, Esq., for the respondent.  ARUNDELL*1166  This is a proceeding for the redetermination of a deficiency in estate tax in the amount of $4,221.10.  The only error alleged is that the respondent is attempting to assess and collect the tax after the *1167  expiration of the statutory time allowed therefor.  The respondent admitted all material allegations of fact and thereupon petitioner moved that the Board find that the sum of $4,221.10 is a deficiency and further that the deficiency can not now be assessed because barred by the statute of limitations.  FINDINGS OF FACT.  The petitioner is a resident of Porterville, Calif., and is the administrator of the estate of Thomas Lawrence Price, who died January 1, 1919, a resident of the State of California.  On July 29, 1919, an estate-tax return, Form 706, was filed for the estate of the decedent and the tax indicated thereon in the amount of $3,981.45 was paid on the same date.  On September 4, 1919, an additional sum of $84.57 was paid.  Thereafter the respondent determined additional*3948  taxes in the amount of $1,265.63, which sum was paid on January 7, 1921, making a total amount of assessments and payments of $5,331.65.  On March 20, 1925, the respondent refunded to the estate the sum of $4,221.10.  On October 9, 1926, respondent mailed to petitioner the following notice: TREASURY DEPARTMENT Washington, D.C.Office of Commissioner of Internal Revenue MT-ET-CI-650-OJV District of 1st CaliforniaEstate of Thomas Lawrence Price Date of Death - January 1, 1919 Unpaid tax $4,221.10 OCTOBER 9, 1926.  Fred S. Price, Administrator, Estate of Thomas Lawrence Price, Porterville, California.  SIR: Reference is made to a letter from this office pertaining to the above-named estate in which you were advised that the estate had made an excess payment of $4,221.10, which was subject to refund.  In view of the decision of the United States Supreme Court in the case of , decided January 4, 1926, and an opinion of the Attorney General of the United States, issued under date of June 24, 1926 (Treasury decision 3891), the estate tax return of Form 706 has been reexamined and the tax redetermined by*3949  including in the gross estate the entire value of the Community property.  Adjustments in values were fully set forth in letter dated December 21, 1920.  The tax as determined therein is now determined to be the correct tax.  *1168  In accordance with the foregoing, the gross estate is now determined to be $220,765.36; the deductions are $65,237.93; and the net estate is $155,527.43, the tax upon the transfer of which is $5,331.65.  The tax now determined to be the undischarged tax is shown by the following tabulation: Tax now determined$5,331.65Tax paid July 29, 1919$3,981.45Tax paid Sept. 4, 191984.57Additional tax paid Jan. 7, 19211,265.63Total tax paid5,331.65Amount refunded Mar. 20, 19254,221.10Tax now discharged1,110.55Credit by tax now discharged1,110.55Undischarged tax 4,221.10The undischarged tax amounting to $4,221.10 bears interest at the rate of six per centum per annum from the due date, Jan. 1, 1920, to the date of which payment is received, ans may be paid to the Collector of Internal Revenue at San Francisco, California.  Respectfully, D. H. BLAIR, Commissioner.kk No waiver of the*3950  statute of limitations has been filed.  OPINION.  ARUNDELL: We have here facts on all fours with those in the case of , and following the decision therein we hold here that the notice upon which the petition is based is a notice of the determination of a deficiency as defined by the statute and that we have jurisdiction.  See also . The notice of the determination having been sent after the enactment of the Revenue Act of 1926, assessment and collection must be in accordance with that Act, which provides in section 1109 that assessment shall be made within four years after the tax became due.  The estate tax under the Revenue Act of 1918, which was in effect at the time of the death of petitioner's decedent, was due one year after the decedent's death (section 406), that is, on January 1, 1920.  As more than four years elapsed between that date and the date of the notice of the determination of the deficiency, assessment, on the face of the pleadings, is barred.  The pleadings do not indicate, nor has the respondent shown, anything that would make any of*3951  the exceptions to the four-year period applicable.  Judgment of no deficiency will be entered.